           Case 1:13-cv-00535-RCL Document 16-3 Filed 10/23/13 Page 1 of 1




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


FBR CAPITAL MARKETS & CO.,

                                Petitioner,

          v.                                              Civil No. 13-00535 (RCL)

PETER D. HANS,

                                Respondent.


                                              ORDER

                   THIS MATTER is before the Court on Respondent’s motion for attorneys fees

and expenses. The Court has considered the parties’ filings and the pertinent authorities. Upon

consideration of the matter, it is

          ORDERED that Respondent’s Motion for Attorneys Fees and Expenses is hereby

granted; and it is further

          ORDERED that Petitioner shall pay Respondent’s attorneys fees in the amount of

$_______________ and expenses in the amount of $________________.



          SO ORDERED.



                                                 _____________________________
                                                 ROYCE C. LAMBERTH
                                                 United States District Judge


Dated: ______________________




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